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                            UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF TEXAS
                                           AUSTIN DIVISION
USA

v.                                                        Case Number: AU:21-M -00688(1)

(1) Jonathon Owen Shroyer
      Defendant

Dear Sir or Madam:
TAKE NOTICE that the above-entitled case has been set before:

UNITED STATES MAGISTRATE JUDGE MARK LANE,

at the U.S. Courthouse, 501 West Fifth Street Austin, Texas Courtroom #8, for the following:

IDENTITY / PRELIMINARY HEARING

on Friday, August 27, 2021 at 11:30 AM

EVERYONE to whom this notice is addressed (except those to whom copies are sent for information
only) must appear IN PERSON unless excused from appearing by the Court.

ATTORNEYS are reminded that it is their duty to advise clients, witnesses, and others concerning rules
of decorum to be observed in Court. (Local Court Rule AT-5(b)(12)).

WHENEVER defendants or witnesses in a criminal case have need for the services of a court interpreter,
the attorney must inform the Clerk not later than five (5) business days before the scheduled Court
proceeding.

If defendant chooses to waive hearing, a written waiver (see attached) must be signed by defendant and
his/her counsel and filed by 4:00 p.m. the day before scheduled hearing.

Date Issued: August 23, 2021
(1) Jonathon Owen Shroyer                            /s/
                                                     Amanda Deichert
                                                     Magistrate Courtroom Deputy
Attorney at Law                                      (512) 916-5896 Ext. 8705



cc:          U.S. Probation
             U.S. Pretrial Services
             U.S. Clerk
             U.S. Attorney
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AO 466A (Rev. 07/16) Waiver of Rule 5 & 5.1 Hearings (Complaint or Indictment)



                                               UNITED STATES DISTRICT COURT
                                                WESTERN DISTRICT OF TEXAS
                                                     AUSTIN DIVISION

USA

v.                                                                                  Case Number: AU:21-M -00688(1)

(1) Jonathon Owen Shroyer                                                           Charging District's Case No.: 1:21-mj-572

                                                                 Waiver of Rule 5 & 5.1 Hearing
                                                                  (Complaint/Indictment)

          I understand that I have been charged in another district, the District of Columbia .

           I have been informed of the charges and of my rights to:

                (1) retain counsel or request the assignment of counsel if I am unable to retain counsel;

                (2) an identity hearing to determine whether I am the person named in the charges;

                (3) production of the warrant, a certified copy of the warrant, or a reliable electronic copy of either;

                (4) a preliminary hearing to determine whether there is probable cause to believe that an offense has
                    been committed, to be held within 14 days of my first appearance if I am in custody and 21 days
                    otherwise, unless I have been indicted beforehand.

                (5) a hearing on any motion by the government for detention;

                (6) request transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty.

           I agree to waive my right(s) to:

             (      ) an identity hearing and production of the warrant.

             (      ) a preliminary hearing.

             (      ) a detention hearing.

            (      ) an identity hearing, production of the warrant, and any preliminary or detention hearing to
                     which I may be entitled in this district. I request that any preliminary or detention hearing be
                     held in the prosecuting district, at a time set by that court.

      I consent to the issuance of an order requiring my appearance in the prosecuting district where the
charges are pending against me.


                                                                                 (1) Jonathon Owen Shroyer, Defendant


Date
                                                                                 Counsel for Defendant
